 

TNW

 

Holland, William

 

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' 9 l ll\.,u vll\.` vlvv Ul L FO.HC|L/ hl-`}\)

l.ClR.fDlST.fDlV.CODE ?..PERSON REPRESEI\TED VOU CHERNIR[BER

 

3. MAG. DKT.IDEF. NUMBER

4. DlST. DKT.)‘DEF. NUMBE

iv

5. APPEALS DKT..'DEF. NUMBER 6. OTHER DK'I`. NUMBE

 

 

 

 

 

 

 

Telephone Nnmber:

50 North Frcmt Street
Suite 850
Memphis TN 38103

(901) 543-9799

 

With Ru|e 55 end/m 32(b )FHCrP un

CATEGOR]ES (Attach itemization of services with dates)

l4. NAME AND MAlLING ADDRESS C|F LAW FIRM (nnly provide perinstruetions)

Thie document entered en ihe docket Sheei m com pliemce
~.x

   
 
 
   
     

 

 
 

   
     

Prior Attorney‘s Name:

 

Appointment Da|e:

 

Becaute the above-named person represented has testified under oath or hat

rwise satisfied this court that he or she [l) is financially unable to employ cmnsel and
(2) does lot wish to waive counsei, and because the interests ofjustice so require, the
attorney whme name appears in l¢em 12 ls appointed to r resent this person in this case,

nr
m Otller (See lf:i/{M/&/ etions} z M

Signalure of Presiding Judieinl Ofi'lcer nr By Urder ofthe Court
061’?0/70(\§
Date ofOrder Nunc Pro Tunc Date
Repayment or partial repayment ordered from the person represented for this service at
time ol'appointment. DYES

MATHFI'E
ADJUSTEDH
HOURS

 

IS.

a. Arraignment and/or Plea

   

 

b. Bail and Detention Hearings

  

 

c. Motion Hearings

 

 

d. Trial

 

 

e. Sentencing Hearings

 

 

f. Rcvocation H.earings

 

 

--.=:=>n =I'~

g. Appeals Court

 

 

h. Other (Speclly on additional sheets)

 
 

 

(Rate per hour = $

) TOTALS=

MATH/TECH
ADJUSLED ADDITlEONAL

2102-020356-001 8 Ff-;.r
7. m cAsE/MATTER or icm mmi s. PAYMENT cA'rEGoRY 9. TYPE PERSON REPRESENTED 10.11(§:21;§'1§¢31-;¢¥,\; ton TYPE '
m nlls
U.S. v. Hol]and Felony Adult Defendant g£in`rnzsi€ _a§g m § n _
ll. OFFENSE(S] CH .ARGED (Cite U. S. Code, Ti¢le & Set:tioll] ll'more than one oh"ense, list (up to Eve) major offenses charged aecnrding to severity ofol`fense. i m `}- l =»J
l) 21 346:CD, F -- CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE
12. ATTORNEY‘S NAME (FirsiName,M.l., l..ast Name,inc|uding any sufl`\x) 13. COURT ORDER C»§ f z 7 t ':.{r~.-::"U g ,` _,
AND MAILING ADDRESS 55 0 Appointing Counse| I:l C Co-Cnuqal f "\Ji CO'JHF
Harviel’ T C]]'f'[gn I:l F SnbsFor Federall)efender ij R Subs F liklt“e|'nt\'l eddrn§jr_' i.'ilDl,_}[S
Harvie] Law Of't'lce l:l P ths For}‘anelAtturney !:l Y Standby Counsel ’

 

  

 

 

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P‘

a. Interviews and Conferences

 

  

 

b. Ohtaining and reviewing records

 

 

c. Legal research and brief writing

 

d. Travel time

 

~Hl=of'j -n:l "*"-'O

e. lnvestigative and Other work

(Spec|fy on additional sheets)

 

(Rate per hour = $

) roTALS:

 

 

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:~'

Trave| Expenses

(lodging, parking, meals, mileage, etc.)

 

 

 

Other Expenses

 

(uther than expert, transcripts, etc. )

 

   
   
 

 

 

 

 

 

 

 

20. APPOINTMENT TERMlNATION DATE

 

 

 

   
 

Signature ofArtnrne

EYES

i:|NO

If yes, give details on additlnnal sheets.

Have you previously applied to the court fcr compensation and!or remimbursement for this case?
Olher than from the conrl, have ynlI, or toyotir knowledge has anyone elae, received payment (compellsation or anything or value) from any other source in connection with this
representatiun'!

l swear oral`iirm the truth or correctness of the above statementsl

19. CER TIFICA'[IO. OF ATTORNEY]'PAYEE FOR THE PERIOD 0 F SERV]CE Zl. CASE DlSPO SlTlON
IF OTHER THAN CASE COMPLETION
FROM TU
22. CLAIM STATUS [] Final Paymen\ I:\ lnterim Foyment Number m Supplemental Payment

i:| Y`ES if yes, were you paid’.’ ij YES m NC|

 

 

 

IN COURT COMP.

 

  
 

 

 

 

 

 

 

 

23. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 16. OTHER EXPENSES 27. TOTAL AMT. APPR 1 CERT
18. SIGNATURE OF THE PRESID]NG JUD]CIAL OFFlCER DA'I'E leo. JUDGE .' MAG.JUDGE CODE
29. lN C()URT COMP. 30. OUT OF COURT C()MP. 31. TR.AVEL EXPENSES 32. OTHER EXFENSES

33. TOTAL AMT. AI’PROVED

 

 

34. SlGNATURE OF CHIEF JUDGE COURT OF APP EALS (OR DELEGATE) Paymenr

approved ln excess oftlie statutory threshold amount

DATE 34a. JUDGE CODE

 

 

 

 

UNITED `SETATS DISTRICT COURT - W"'ERNT D'S'TRCT 0 TESSEE

      

Notice of Distribution

This notice confirms a copy of thc document docketed as number 349 in
case 2:02-CR-20356 Was distributed by faX, mail, or direct printing on
July 6, 2005 to thc parties listcd.

 

 

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Honorablc J. Breen
US DISTRICT COURT

